
Jackson, Justice,
dissented upon the ground that the year’s support of the family under the law of Georgia— Code, §257i — is a part of the expenses of administration, and must therefore be regulated by the law of the forum where administration is had. Therefore, if administration be had in Georgia on the estate of a decedent who died in Florida, the amount of such support should be regulated by the law of the former state and not of the latter.
Expenses of administration in Florida have nothing to *220do with expenses of administration in Georgia. What the fees of the ordinary are by the laws of Florida cannot regulate the fees of that officer in Georgia, nor can any other expenses which would' be incurred by administration there on property there and be fixed by their law, control the expenses here on property here. If, therefore, the year’s support be expenses of administration, and our statute so declares in plain words, Georgia law must regulate as well the value and amount of these expenses as of any other expenses of administration.'
The ordinary or judge of probate of Florida, if his claim were interposed here for fees out of this property administered here, would not be entitled thereto. His claim might come in as a debt, but not as costs of administration. So Mrs. Mitchell’s claim for a year’s support, if it rested on Florida law, would give her no preference here — certainly none over everything in the way of debts and liens; yet it was set apart in preference to all other claims here. Why ? Because it ranked under our law as expenses of administering the property here.
Support for the family is not dependent on the place where decedent died, or where he was domiciled when he died, under our statute of distribution; but goes to the widow as-matter of right and as costs of administration if she lived in Georgia when the administration of the property is had.
This widow came with her husband’s remains here and lives here, and her year’s support must be taken out of the property administered here before its net proceeds can be otherwise disposed of. It is a claim which ranks with fees of officers and costs of administration ; it ranks according to the laws of administration here; and its amount- isas much fixed by that law as any other fee or costs of administration. Besides, there is no proof that she has received anything from the property in Florida; and as her domicil has been in Georgia ever since her husband’s death, she will not be sent there for rent of homestead or year’s sup*221port, or furniture, or aught else that she might sue for and possibly recover there. Living in Georgia before she married the decedent and at the time of the marriage, and having resided with her husband in Georgia part of every year of the marriage, it is not right to remit her to Florida for any part of her year’s support, or to limit it by the narrower provisions of the laws of Florida — nor is it law.
Unquestionably the law is that the personal estate in Georgia will be distributed according to the laws of Florida, after the expenses of administration in Georgia are deducted, because the domicil of decedent was in Florida; but these expenses must be first deducted, and among these expenses our statute includes the year’s support of the family of the decedent. Hence the law of the case, as he understood it, accorded with the right; and while distrustful of his judgment in view of differing with his colleagues as well as the court below, to his own mind the point seemed so clear that his duty required him to express his dissent.
